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 1         IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
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       Adam Davis
 4     3827 Cemetery Hill Road,
       Carrollton, TX 75007               ) COMPLAINT AGAINST NEGLIGENC
 5                                        ) AND FOR MONETARY
                             Plaintiff,   ) JUDGEMENT
 6
                      Vs.
                                                                                        SEP 1 0 2021
 7
                                          J Clerk, U.S. District Court
 8      NUU MOBILE, through its           ) Civil, ACTION CASE NO: asg                          t exas
 9      owner Michael Sitt , 4343 W
        Royal Ln suite 120, Irving,
10
        Texas 75063
11
                            Defendant
12

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14                                                  COMPLAINT
15     This is a civil action/The Damages suit is based on the fact of the negligence at workplace and

16     company s unprofessional safety measures during covid -19.

17                                                    PARTIES
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          1. Plaintiff ("plaintiff} Adam Davis is a natural person with his residence at 3827 Cemetery
19           Hill Road, Carrollton, TX 75007
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          2. Defendant NUU MOBILE, through its owner Michael Sitt , 4343 W Royal Ln suite
21            120,Irving, Texas 75063

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          Plaintiff alleges, that due to defendants none compliance of State law, local ordinances, and
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          basic health and safety standards in the workplace, including CDC guidelines and other inimum
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          public health standards necessary to prevent the spread of COVID-19, the PLAINTIFF along with
26        his entire family contracted with covid-19 hence filed this suit for the recovery of damages.

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1                                                  JURISDICTION AND VENUE

2        3. Venue is appropriate in Dallas, County, Texas because all or a substantial part of the conduct giving rise to the
             causes of action were committed in Dallas, County, Texas and because Plaintiff and its insured property, hich
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             are the subject of this suit are in Dallas County, Texas. Accordingly, venue is proper pursuant to Texas Civil
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             Practice & Remedies Code §15.002.
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                                                                FACTS
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 8       4. That under the applicable standard of CDC and U.S. Occupational Safety and Health Act of

 9           1970 (29 U.S.C. § 654, 5(a)), the Defendant is required to provide the coworkers and a

10           place of employment free from recognized hazards that cause or are likely to cause death or

             serious physical harm.
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         5. That On August 01, 2021 the plaintiff first informed the Human Resource Manager about his
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1            concerns, the manager treated plaintiff negatively by ignoring the plaintiff and further ignored

15           plaintiffs requests to place plaintiffs fiance and plaintiff in the same work schedule to

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             minimize the days in which someone is out of the house thus reducing the chances of being in
17
             contact with the virus.
18
         6. On August 02,2021 the plaintiff raised the issue that the plaintiff has a toddler and would be
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20           safe to work from home. But the plaintiff request refused.

21       7. On or around August 03, 2021, the plaintiff was infected with covid 19. the covid 19 confirm

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             result is attached as Annexure A due to NUU mobiles (hereinafter the company/ s) failure
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             to provide a safe, free of hazards workplace and due to companies unprofessional behavior and
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             ill safety place for work. Due to the said reason and the medical condition of the plaintiff the
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26           plaintiff decided to resign the job.

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 1    8. The U.S. Occupational Safety and Health Act of 1970 (29 U.S.C. § 654, 5(a)), the company is

 2        required to provide coworkers and a place of employment free from recognized hazards that
 3
          cause or are likely to cause death or serious physical harm. COVID-19 is a lethal infectious
 4
          disease, and its spread has resulted in a global pandemic.
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 6    9. The defendant despite of the plaintiff request did not change the work schedules and did not Set

 7        up alternating work schedules to minimize people in the workplace on the same day, also did not
 8
          set up physical barriers between employees, and between employees and customers, using strip
 9
          curtains, plastic barriers, or similar materials.
10

11     10. That as a direct and proximate result of the breaches of the applicable standard of safety and

12        negligence by the Defendants, the plaintiff suffered with covid -19 and had also suffered with a

13
          huge amount of expenses.
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       11. The Centers for Disease Control and Prevention ( CDC ) standards provide that an employer,
15
          such as Defendant, should take additional precautions to prevent the spread of COVID-19. But
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17        the defendant failed.

18     12. That due to the negligent conduct of the defendant the plaintiff has severely affected with the
19
          Covid-19 the global pandemic and the expenses being suffered by the plaintiff is as under
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                    Travel costs $20,000.00
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             Lost wages $500,000.00
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23                   Total special damages $520,000.

24                                                    COUNT ONE
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                         NEGLIGENCE - FALURE TO PROVIDE A SAFE WORKPLACE
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      13. PLAINTIFFS restate and reaver each allegation contained in the preceding paragraphs
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          of this Complaint as if fully set forth herein.
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 1        14. That on or about August 02, 2021, Defendant breached the applicable standard of

 2           CDC guidelines and other minimum public health standards necessary to prevent the spread of
 3
             COVID-19, which proximately caused a physical injury to the plaintiff along with his
 4
             family suffering with covid-19 and other damages.
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 6        15. WHEREFORE: The Plaintiff, claims monetary damages against Defendant in an

 7           amount to be determined at trial, plus costs, and for any further relief that this

 8
             Honorable Court determines necessary and appropriate.
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                                                        COUNT TWO
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12                           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

13       16. PLAINTIFFS restate and reaver each allegation contained in the preceding paragraphs

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             of this Complaint as if fully set forth herein.
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         17. That due to the negligence and none compliance of CDC requirements of Defendant the
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            plaintiff resulted in contracting COVID-19, and had severely affected with pain and
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18           sufferings , emotional distress and future lungs continuous issues and mental anguish. As a

19          result, the plaintiff claims the damages.

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                                                    COUNT THREE
21
                                                PUNITIVE DAMAGES
22
         18. PLAINTIFF restate and reaver each allegation contained in the preceding paragraphs of
23

24          this Complaint as if fully set forth herein.

25       19. DEFENDANTS' conduct was conscious, deliberate, intentional, and/or reckless in
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             nature.
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         20. DEFENDANTS' conduct was undertaken in a state of mind, which evidences hatred, ill
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1           will,

2        21. DEFENDANTS' conduct evidences a conscious disregard for the rights of other persons

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             and has a great probability of causing substantial harm
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         22. As a result, PLAINTIFF is entitled to punitive damages and attorneys' fees.
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      WHEREFORE, PLAINTIFF demands,
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10    A. For damages as an actual damage with the total amount of $1,000,000.00

      B. For a damage a punitive damage of $50,000.
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      C. For costs, interest and attorney's fees; and,
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      D. For any other relief that this court deems just and appropriate.
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15                                                Adam Davis
                                                 3827 Cemetery (
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                                              Hill Road, Carrollton,
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                                                   TX 75007
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                                          Respectfully submitted,
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